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                                 UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
     JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                     )
              Plaintiffs,                              )
16   - vs -                                            )   [REDACTED] EXHIBITS IN
17                                                     )   SUPPORT OF PLAINTIFFS’
     JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18   OF THE UNITED STATES, et al.,                     )   RESPONSE TO DEFENDANTS’
                                                       )   FIRST JUVENILE COORDINATOR
19            Defendants.                              )   REPORTS VOLUME 6 OF 12 [FILED
20
                                                       )   UNDER SEAL PURSUANT TO
                                                           ORDER OF THE COURT DATED
21                                                         JULY 16, 2018]
22
                                                           [HON. DOLLY M. GEE]
23
                                                           Hearing: July 27, 2018
24                                                         Time: 10 AM

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  6/14/18

  9:20 AM

  CBP Processing

  Carol V                        (33 years old – 23, June, ’84)
  Daniel J                     (3 years old – 13, September, ‘14)

  Guatemala

  Reason for leaving: Threats of extortion against her business, one threat in particular against her
  son and for this they left.

  Border Patrol found us after we crossed the river yesterday (6/13/18) in the afternoon. They
  brought us here (CBP).

  It is cold and there are a lot of people in the room, but the rest isn’t so bad.

  For food, there are sandwiches of only baloney. There is some juice but there is also water. WE
  have eaten three times.

  The temperature is especially cold at night. In the day it is manageable but still cold.

  There is always light.

  The bathrooms are clean, you can wash your hands.

  From here I have a friend with papers who is going to help me.

  I have only been in this one center.

  No one has explained to me what is going to happen next or any legal options I may have.

  No one has spoken to me about asylum.

  I have not had any kind of interview with Border Patrol.

  I haven’t seen anything that has struck me as bad.

  There were separations, yesterday when we arrived here. You do not see the kids and the moms I
  saw already left from here in the morning.

  The health of myself and my child is good.




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  6/14/18

  Alexia M                     (DOB: 1/7/14)
  Cindy J                       (DOB: 10/12/97)

  Country of Origin: Honduras

  1 Day in CBP -McAllen

  The girl has an infection of the chest that she has had before arriving to the center.


  I encountered Border Patrol under the bridge yesterday (6/13/18) around 12 PM. Then we went
  up to the checkpoint on the bridge, so they could take my name and my daughter’s name. This
  was before ever coming here.

  When we arrived at the center there was some trash on the floor. After breakfast today, a woman
  came and cleaned it up.

  The rooms are very cold and at times it gets colder than other times. The rooms for the most part
  are clean but they have very little room.

  My daughter does not like the food, she only drinks the juice. We have eaten three times since
  arriving – sandwiches made of bread and baloney. A juice and crackers. Two times they made
  and served the sandwiches without gloves.

  The center has had consistent light, there has not been a time when we were without light.

  My daughter slept but I did not.

  We’ve been here for one day.

  The bathrooms are clean, and you can wash your hands but there is no soap, only water.

  No one has explained nothing about what is going to happen or any legal options.

  I left my home country because of my child’s father. He abused me and kidnapped her one time.




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  6/14/18

  1:50 PM

  Guatemala

  Gregorio C                 (11/17/84)
  Candelaria Ci                   (11/30/06)

  CBP Center

  We encountered Border Patrol yesterday (6/13/18) under the bridge in the afternoon.
  Afterword’s we came to this center at night.

  I came here to improve our life and work in the United States.

  Four times we have eaten the sandwiches of baloney and a juice. We have access to water.

  The rooms are cold. The silver blankets do not give a lot of heat. The rooms are clean. At night
  there is not a lot of room but in the day time there is room.

  The lights work.

  We have access to the bathrooms and they are clean. They are cleaned daily, and you can wash
  your hands.

  There were no explanations of legal options or what is going to happen.




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  Lucia G                               (1/23/95)
  Jazmin L                            (8/7/2013)

  El Salvador

  CBP Center

  6/14/18

  We crossed in the afternoon and encountered Border Patrol at night. We arrived at this center the
  same night. This is the only center we have been to so far.

  The rooms are really cold and at one point it was extremely cold. There is not a lot of room and I
  was not able to sleep but my daughter did sleep. The silver blankets do not work.

  We have eaten three times. It was sandwiches of only baloney and a juice. We have access to
  water.

  There is light.

  The bathrooms are clean. You can wash your hands but there is no soap. You do have access to
  menstrual products and pampers.

  I have not had any legal explanations or explanations about asylum or what is going to happen
  after arriving here.

  I came here to work for my daughter. There is no work in my country that pays.




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                                     Certificate of Translation

  I, Michelle Brané, am fluent in the English and Spanish languages and I certify under penalty of
  perjury of the laws of the United States that I read the above statement back to _Norin U
         _, who verified that it was true and correct.




  _____                      ___________________
  Michelle Brané
  Women’s Refugee Commission
  1012 M Street, Suite 1100
  Washington DC, 20005
  (202) 750 – 8596

  McAllen, Texas




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                                     Certificate of Translation

  I, Michelle Brané, am fluent in the English and Spanish languages and I certify under penalty of
  perjury of the laws of the United States that I read the above statement back to _Skarleth
  G                    who verified that it was true and correct.




  _____                      ___________________
  Michelle Brané
  Women’s Refugee Commission
  1012 M Street, Suite 1100
  Washington DC, 20005
  (202) 750 – 8596

  McAllen, Texas




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                                     Certificate of Translation

  I, Michelle Brané, am fluent in the English and Spanish languages and I certify under penalty of
  perjury of the laws of the United States that I read the above statement back to _Carol S
                     _, who verified that it was true and correct.




  _____                      ___________________
  Michelle Brané
  Women’s Refugee Commission
  1012 M Street, Suite 1100
  Washington DC, 20005
  (202) 750 – 8596

  McAllen, Texas




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                           Exhibit 95
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                                     CERTIFICATE OF SERVICE
1
           I, Peter Schey, declare and say as follows:
2

3          I am over the age of eighteen years of age and am a party to this action. I am
4
     employed in the County of Los Angeles, State of California. My business address is
5
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7          On July 19, 2018, I electronically filed the following document(s):
8
        • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9         DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10        6 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
          COURT DATED JULY 16, 2018]
11

12   with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14

15   served by the CM/ECF system.
16                                                /s/Peter Schey
                                                  Attorney for Plaintiffs
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